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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

-----------------------------------------------------------X
                                                           :
In re                                                      :       Chapter 11
                                                           :
Nortel Networks Inc., et al.,1                             :       Case No. 09-10138 (KG)
                                                           :
                                   Debtors.                :       Jointly Administered
                                                           :
                                                                   Hearing date: June 7, 2011 at 9:30 a.m. (ET)
                                                           :       Objections due: May 19, 2011 at 4:00 p.m. (ET)
                                                           :
-----------------------------------------------------------X

      NOTICE OF JOINT MOTION FOR ENTRY OF AN ORDER ESTABLISHING
      AN ALLOCATION PROTOCOL PURSUANT TO THE INTERIM FUNDING
         AND SETTLEMENT AGREEMENT, AND FOR RELATED RELIEF

                 PLEASE TAKE NOTICE that Nortel Networks Inc. (“NNI”) and certain of its
affiliates, as debtors and debtors in possession (collectively, the “U.S. Debtors”), and the Official
Committee of Unsecured Creditors (the “Committee” and together with the U.S. Debtors, the
“Movants”) have today filed the attached Joint Motion For Entry Of An Order Establishing
An Allocation Protocol Pursuant To The Interim Funding And Settlement Agreement, And
For Related Relief (“Motion”).

              PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Motion must file a response or objection (“Objection”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before the objection deadline of
May 19, 2011 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).

                At the same time, you must serve such Objection on counsel for the Movants so
as to be received by the Objection Deadline.

          PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION
WILL BE HELD ON JUNE 7, 2011 AT 9:30 A.M. (EASTERN TIME) BEFORE THE
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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://dm.epiq11.com/nortel.
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HONORABLE KEVIN GROSS AT THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 MARKET STREET, 6TH FLOOR, COURTROOM #3,
WILMINGTON, DELAWARE 19801. ONLY PARTIES WHO HAVE FILED A TIMELY
OBJECTION WILL BE HEARD AT THE HEARING.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.


Dated: April 25, 2011         CLEARY GOTTLIEB STEEN & HAMILTON LLP
       Wilmington, Delaware
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                              Howard S. Zelbo
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                                  - and -

                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                              /s/ Ann C. Cordo
                              Derek C. Abbott (No. 3376)
                              Eric D. Schwartz (No. 3134)
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                              Counsel for the Debtors and Debtors in Possession

                                  - and -

                              AKIN GUMP STRAUSS HAUER & FELD LLP

                              Fred Hodara (admitted pro hac vice)
                              David Botter (admitted pro hac vice)
                              Abid Qureshi (admitted pro hac vice)

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                                    - and -

                                RICHARDS, LAYTON & FINGER, P.A.

                                /s/ Mark Collins
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                                Creditors




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